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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                 -v-                                      ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

      IT IS HEREBY ORDERED that there will be a conference in this matter on Monday,
October 2, 2023, at 2:30 p.m. The conference will be held in Courtroom 23A.


Dated: New York, New York
       September 27, 2023

                                                          SO ORDERED:



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